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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KALOMA CARDWELL,

                                 Plaintiff,

 v.

 DAVIS POLK & WARDWELL LLP, Thomas Reid,                1:19-cv-10256-GHW
 John Bick, William Chudd, Sophia Hudson, Harold
 Birnbaum, Daniel Brass, Brian Wolfe, and John H.
 Butler,
                                 Defendants.




      PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
            AND PAUL WEISS’S APPLICATION FOR FEES AND COSTS




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        Plaintiff Kaloma Cardwell (“Plaintiff” or “Cardwell”) respectfully submits this

memorandum of law in opposition to Defendants’ and Paul Weiss’s Application for Fees and Costs

(ECF 131) (the “Motion”), as filed by Davis Polk & Wardwell LLP (“Davis Polk” or the “Firm”)

and named defendants Thomas Reid, John Bick, William Chudd, Sophia Hudson, Harold

Birnbaum, Daniel Brass, Brian Wolfe, and John H. Butler (the “Named Defendants,” and, together

with Davis Polk, “Defendants”).

                                     PRELIMINARY STATEMENT

        Kaloma Cardwell is a Black former employee of Davis Polk who has plausibly alleged

retaliation against at least three current Davis Polk partners. See Motion to Dismiss Opinion, ECF

78. Specifically, Mr. Cardwell has plausibly alleged that “he would not have been terminated if he

had not filed” complaints with the EEOC and New York State Division of Human Rights. Id. at

70. The issue presently before the Court is whether Defendants and their counsel, Paul Weiss, are

entitled to an award of $99,565.20 in attorneys’ fees after the Court granted in large part a motion

to compel filed against Plaintiff for reasonable discovery-related disputes.

        Although Defendants have repeatedly sought monetary sanctions against Plaintiff

throughout this Action, they did not do so here; instead, the Court encouraged Defendants and Paul

Weiss to submit a fee application, to which they obliged. 1 As set forth in their accompanying

Declaration of Susanna Buergel, Defendants and Paul Weiss seek to be collectively reimbursed by

Plaintiff and Plaintiff’s counsel for approximately 120 hours of attorney time billed at (i) a partner

rate of $1,485/hour, (ii) a senior associate rate of $958/hour, and (iii) a junior associate rate of

$598.50/hour, for a total award of almost $100,000. These billing rates are among the highest in

the world and typically only paid by the wealthiest companies and individuals.


1
 Specifically, Defendants’ and Paul Weiss’s request comes on the heels of the Court “directing” Defendants to
make an application for fees in connection with the motion to compel that was granted. Hrg. Tr. at 42:9-11.


                                                        1
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         For the reasons stated herein, shifting these fees to Plaintiff and Plaintiff’s counsel would

be improper and unjust. At the risk of echoing prior filings, the wealth, power, and resource

asymmetries are so great in this case that there is virtually no scenario in which Defendants or Paul

Weiss could be “discouraged” by monetary sanctions alone—while Plaintiff and Plaintiff’s

counsel (two Black lawyers of limited means) would almost certainly be crippled by them.

         These realities should not be divorced from the Court’s consideration of their application.

Indeed, Defendants’ and Paul Weiss’s request comes at a time when scholars at The Arthur Liman

Center for Public Interest Law at Yale Law School, the Fines their & Fees Justice System, and the

Policy Advocacy Clinic at Berkeley Law School are documenting how “money has a long history

of being used as punishment, and punishment has a long history of being used . . . against

communities of color.” 2 Intended or not, their request for nearly $100,000 effectively asks this

Court to trap a pro bono attorney and Mr. Cardwell with debt that is roughly equivalent to the

student loans that Mr. Cardwell undertook to become the first attorney in his family. 3

         Intended or not, the practical and harmful effect of what Defendants and Paul Weiss seek

cannot be overstated: their request, if granted, will (i) profoundly and unnecessarily exacerbate

racial and economic inequality among the families and communities that Plaintiff and his counsel

are a part of (and serve) 4 and (ii) deter employees and pro bono counsel from pursuing plausible

employment-related claims against corporate employers in federal court. At a fundamental level,

the cost of litigating claims in federal court (and losing a reasonable discovery dispute) cannot and




2
  Yale Law School’s Arthur Liman Center for Public Interest Law, “Money and Punishment, Circa 2020” (2020),
https://digitalcommons.law.yale.edu/amlaw/27.
3
  Indeed, very few people, let alone lawyers, ever pay off such debt within their lifetimes. This is especially true for
people like Plaintiff and Plaintiff’s counsel, both of whom are parents to young children.
4
  Plaintiff’s counsel’s primary practice is criminal defense. Plaintiff’s counsel primarily serves and defends
individuals who are Black, Latino, and Asian.


                                                           2
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should not be tied to the billing structure—or expertise—of the largest and second largest

employers in a given industry.

       Doing so in the context of workplace retaliation cases creates perverse outcomes, especially

in cases like this one where Davis Polk’s decision to terminate Mr. Cardwell’s employment in

response to his EEOC Complaint is directly responsible for Mr. Cardwell being financially

unstable, unable to afford rent, impaired in his ability to financially care for his family, without

any savings, and buried in mounting debt (none of which existed prior to his unlawful termination).

       Thus, Plaintiff objects to Defendants’ and Paul Weiss’s fee request on the following

grounds:

       First, granting their request would be unjust, particularly where:

           •   Monetary sanctions on Plaintiff’s pro bono counsel would have a chilling effect on

               the ability of under-resourced plaintiffs to pursue employment law claims against

               well-resourced corporate adversaries,

           •   Monetary sanctions on Mr. Cardwell would have long lasting consequences for him

               and his family given the reversal in his financial standing as a direct result of

               Defendants’ actions, and

           •   Monetary sanctions on Plaintiff and Plaintiff’s counsel will produce and reinforce

               racial and economic inequality in Black and marginalized communities.

       Second, Defendants did not seek such fees, a factor that this Court should consider in its

discretion as a basis to forego awarding attorneys’ fees entirely (see Section I.A.4).

       Third, cost-shifting is inappropriate where the discovery positions asserted in Plaintiff’s

Opposition to Defendants’ Motion to Compel and during the discovery meet and confer process

were “substantially justified,” and advanced in good faith (see Section I.B);




                                                 3
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       Fourth, if the Court insists on imposing fees despite the associated and predictable

hardships, an across-the-board reduction of 90% (to total an award of roughly $10,000) is more

than sufficient to ensure that an indigent party and his pro bono counsel are focused on doing their

best to meet their discovery obligations to the Court’s (see Section II).

       Fifth, in the alternative to an across-the-board percentage cut, and again, should the Court

insist on awarding fees, Paul Weiss’s exorbitant hourly rate is not reasonable for the tasks

performed in this employment action (see Section III.A) and the hours spent to obtain the outcome

they enjoy were excessive for a motion to compel (see Section III.B), and thus should be reduced.

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 37(a)(4)(A), if a motion to compel is granted, the

party whose conduct necessitated the motion shall be required to pay the reasonable expenses

incurred in bringing the motion, including attorneys’ fees, unless: (i) the motion was filed without

the moving party first making a good faith effort to secure the discovery; (ii) the opposing party’s

nondisclosure, response, or objection was substantially justified; or (iii) other circumstances make

an award of expenses unjust.

       When such factors are not present, the Second Circuit has held that courts are to award

counsel the “presumptively reasonable fee,” which is determined by multiplying the reasonable

hourly rate by the number of reasonably expended hours (i.e., the so-called lodestar calculation).

Simmons v. N. Y. City Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009). Under Rule 37, if a court

awards expenses and fees, that court must decide what is proper. See Sheehy v. Wehlage, No.

02CV592A, 2007 U.S. Dist. LEXIS 11722, at *12-13 (W.D.N.Y. Feb. 20, 2007).




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                                                ARGUMENT

I.      COST SHIFTING IS IMPROPER WHERE PLAINTIFF’S OBJECTIONS TO
        DEFENDANTS’ DISCOVERY DEMANDS WERE “SUBSTANTIALLY
        JUSTIFIED” AND SUCH AN AWARD WOULD OTHERWISE BE UNJUST

        During the February 13, 2021 teleconference, after ruling on Defendants’ Motion to

Compel, this Court instructed the parties that “the rule requires that [the Court] must impose such

fees absent certain circumstances in connection with such a motion to compel.” Hrg. Tr. at 43:6-

8 (emphasis added). As detailed herein, there are ample “circumstances” that counsel against the

imposition of fees against Plaintiff and Plaintiff’s counsel, namely that Plaintiff’s “nondisclosure,

response, or objection was substantially justified” and “other circumstances make an award of

expenses unjust.” Fed. R. Civ. P. 37(a)(4)(A). These two arguments are addressed in turn.

        A.       The Circumstances of This Case Reveal That An Award of Attorneys’ Fees
                 Against Plaintiff and Plaintiff’s Counsel Would Be Unjust

        At the threshold, it would be unjust for this Court to impose a hefty $100,000 sanction for

technical and “fundamental” discovery violations. While “[d]istrict courts are entrusted with broad

discretion regarding whether to impose sanctions under Rule 37, and the nature of the sanctions to

be imposed,” including for the reasons the Court stated on the record, 5 “the court’s discretion is

not without limits.” Caldwell v. Ctr. for Correctional Health and Policy Studies, Inc., 228 F.R.D.

40, 42 (D.D.C.2005) (omitting citations). “[A]ny sanctions awarded must be proportional to the

underlying offense.” Id.        Defendants’ and Paul Weiss’s application violates this sacrosanct

principle.

        When Plaintiff’s discovery violations are read in the context of the Court’s ruling on

Defendants’ Motion to Compel (i.e., that such violations are seemingly clear on the face of the



5
 For instance, the Court remarked that “Rule 37 is designed in part to discourage unnecessary motion practice by
charging a losing party with the cost of litigating the dispute.” Hrg. Tr. at 42:14-16.


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rules), a request for $100,000 in attorneys’ fees is disproportionate to the underlying offense. See

Hrg. Tr. at 42:19-2 (“[T]his dispute is resolved by reference to the rules themselves and the

advisory committee notes. It was really not a necessary motion.”).

         It would likewise be “unjust” to sanction Plaintiff and Plaintiff’s counsel, including for the

amount sought, particularly where: (i) Plaintiff’s counsel is representing Mr. Cardwell pro bono; 6

(ii) Mr. Cardwell has plausibly alleged that he was unlawfully terminated from his full-time

position at Davis Polk by the same defendants who are parties to this Action, thus destroying his

sole source of income and necessitating his need to obtain pro bono counsel to pursue his claims;

(iii) approving Defendants’ and Paul Weiss’s request would further entrench punishment

mechanisms that reflect, produce, and reinforce racial inequality and subordination among

members of vulnerable communities; and (iv) neither Defendants nor Paul Weiss sought a sanction

of fees until urged by the Court to do so. Awarding fees against this crucial backdrop would be

unjust and undermine basic considerations rooted in access to justice.

                  1.       Monetary Sanctions Against A Pro Bono Counsel Would Have A Chilling
                           Effect On Under-Resourced Plaintiffs’ Ability To Pursue Employment Law
                           Claims Against Well-Resourced Corporate Adversaries

         It would be unjust to impose monetary sanctions against an attorney working pro bono for

the types of discovery violations that the Court found were committed (especially where bad faith

did not motivate the conduct of Plaintiff or Plaintiff’s counsel). At worst, a difference of

interpretation of the Federal Rules, Advisory Notes, and caselaw are responsible for the parties’

respective positions, and the discovery “violations” that the Court has identified.




6
  Plaintiff’s fee arrangement with his counsel is on a pro bono basis. Plaintiff’s counsel is not working on a
contingency fee, has never sent Plaintiff an invoice or otherwise requested payment for legal services, and has never
received payment from Plaintiff for any legal services rendered. See Jeffries and Cardwell Declarations (explaining
same).


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         In any event, despite working on this case since November 2018, Plaintiff’s counsel (i) has

never sent Plaintiff an invoice or otherwise requested payment for any legal services or costs and

(ii) has never received payment from Plaintiff for any services rendered. See Jeffries and Cardwell

Declarations. This fee arrangement and the fact that Plaintiff only has a single attorney are not

random features of this case. 7

         As both Plaintiff and Plaintiff’s counsel have experienced first-hand, attorneys are simply

unwilling to pursue sensitive discrimination and retaliation claims against any defendant (let along

these particular Defendants) under circumstances where (i) they would be representing a plaintiff

largely unable to afford to retain their services, (ii) a formal or informal contingency fee

arrangement cannot be guaranteed or was not agreed upon, and (iii) a plaintiff seeks to sue

defendants with enough power, wealth, and professional connections to impact the would-be

attorney’s potential referral sources and professional opportunities. 8 A ruling that places exorbitant

financial burdens on a pro bono attorney willing to undertake such extraordinary but well-founded

risks would only exacerbate these unfortunate realities. Cf. Jeffreys v. P.O. Rossi, 275 F. Supp. 2d

463, 482 n.35 (S.D.N.Y. 2003) (acknowledging the chilling effect of imposing sanctions against

pro bono attorneys).

         The court’s decision in Alton Johnson v. Vern Orr, albeit in the context of a Rule 11 motion,

is instructive. There, the Alton court declined to impose sanctions against pro bono counsel for

this very reason, acknowledging that while pro bono attorneys are “not immune from the sanction

of attorney’s fees . . . counsel is receiving no fee for his services” and thus “imposing attorney’s




7
  As Plaintiff has consistently maintained, this case presents a David against Goliath scenario, as Davis Polk is the
second-largest law firm in New York and has virtually unparalleled resources and power.
8
  This fundamental reality is not hyperbole; lawyers hesitate to bring claims against corporate defendants for reasons
that have nothing to do with the claims themselves and everything to do with the actual or perceived power, wealth,
and influence of their would-be adversary.


                                                          7
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fees would be inappropriate” and counsel “should not be required to reach into his own pocket

because of a slight excess of zeal in representing his pro bono client.” 1985 WL 250, at *2

(S.D.N.Y. 1985) (emphasis in original).

       Likewise, for the failures that this Court described during the January 2021 teleconference,

it would be unjust to punish pro bono counsel for such shortcomings, even more so where (i)

Plaintiff’s pre-conference letter (and exhibits thereto) advanced the very same positions that were

advanced after the Court granted Defendants’ request to file a motion to compel against Plaintiff,

and (ii) Plaintiff’s counsel used his best efforts to interpret applicable rules and caselaw and did

not advance the positions taken in bad faith, and thus such conduct was substantially justified

(including, for reasons described in Section II.B).

               2.      Monetary Sanctions Against Mr. Cardwell Would Further Impoverish Him,
                       And Thus Any Award Of Attorneys’ Fees Must Account For Mr. Cardwell’s
                       Status As An Indigent Plaintiff

       The Court remarked that “[t]he last discovery deficiency yielded a very constrained request

by counsel for Defendants, which was very generous.” Hrg. Tr. at 42:12-13. While true that

Defendants previously exercised such a “constrained” request, it is also true that (i) Mr. Cardwell

only became unemployed (and was forced to pursue this litigation) because Davis Polk terminated

his employment and (ii) Mr. Cardwell has plausibly alleged such termination was unlawful.

       It is black-letter law in this Circuit that fee awards “may be adjusted downward based on

the relative financial strength of the parties.” Barclays, 2010 WL 2640095. “[F]ee awards are at

bottom an equitable matter, and courts should not hesitate to take the relative wealth of the parties

into account.” Toliver v. County of Sullivan, 957 F.2d 47, 49 (2d Cir. 1992). Shangold v. Walt

Disney Co., No. 03 Civ. 9522(WHP), 2006 WL 2884925, at *1 (S.D.N.Y. Oct. 11, 2006) (reducing

fee award due to parties’ financial condition), aff’d, 75 F. App’x 72 (2d Cir. 2008).




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         To put a fine point on this, Mr. Cardwell went from being financially secure and making

significant financial philanthropic contributions to Black and marginalized communities and

organizations, to having virtually no financial resources as a result of Defendants’ decision to

terminate his employment. See Affidavit of Kaloma Cardwell. As a result of such actions—which

eliminated his sole source of income—Mr. Cardwell has no income and no means to pay for his

representation in this Action.           Likewise, Mr. Cardwell cannot afford the cost of monetary

sanctions. See Cardwell Declaration (explaining same).

         To financially punish Mr. Cardwell, in the amount that Defendants and Paul Weiss seek,

would not only be unjust, it would serve no meaningful deterrent purpose where: (i) as explained

further in Section II.B, the litigation positions that precipitated the instant dispute were maintained

in good faith and “substantially justified,” and (ii) any reasonable “ability to pay” 9 assessment of

Mr. Cardwell’s financial and personal circumstances would show that he cannot meet his and his

family’s basic needs while paying Defendants or Paul Weiss thousands of dollars. See Cardwell

Declaration. Living below the “poverty line” should demonstrate that there is no incentive for Mr.

Cardwell to intentionally engage in “unnecessary motion practice.” 10 See Cardwell Declaration.




9
  “‘Ability to pay’ refers to the overall capability of a person to pay the court ordered fines, fees, and other monetary
sanctions without economic hardship. At a minimum, a definition of economic hardship should consider an
individual's ability to pay the court-ordered fines and fees without having to forgo basic living necessities such as
food, shelter, clothing, medical expenses, or child support.” Fines & Fees Justice Center, “First Steps Toward More
Equitable Fines and Fees Practices: Policy Guidance on Ability to Pay Assessments, Payment Plans, and
Community Service” (2020),
https://finesandfeesjusticecenter.org/content/uploads/2020/11/FFJC_Policy_Guidance_Ability_to_Pay_Payment_Pla
n_Community_Service_Final_2.pdf.
10
   As a practical matter, the incentives fueling Rule 37’s ability to “discourage unnecessary motion practice by
charging a losing party with the cost of litigating the dispute,” have been in effect at all relevant stages during this
case. Mr. Cardwell’s indigent status and his counsel’s pro bono status inherently “discourag[es] unnecessary motion
practice….” Mr. Cardwell and his counsel have never rushed to the Court or otherwise sought judicial guidance
without taking into account the need to conserve and allocate their limited resources and time.


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                 3.       If Approved, Defendants’ and Paul Weiss’s Request for Fees Will Produce
                          and Reinforce Racial and Economic Inequality

        If approved, Defendants’ and Paul Weiss’s request will produce and reinforce racial and

economic inequality, and harm Plaintiff and Plaintiff’s families and communities. Although

typically discussed in a criminal law context, professors and law students at Yale Law School,

Harvard Law School, and Berkeley Law School are currently fighting against monetary sanctions

materially similar to the type that Defendants and Paul Weiss seek. Given the nature of this Action,

along with the financial standing of Plaintiff and Plaintiff’s counsel, this Court’s discretion on

fairness and justice principles is warranted.

        As some of the nation’s leading law schools note: “In jurisdictions throughout the United

States, monetary payments for infractions, misdemeanors, or felonies typically do not consider a

[party]’s ability to pay, and instead are determined based on offense type, either statutorily or

through judicial discretion.” 11 “Commitments to ‘access to justice’” become soundbites in the face

of “economic barriers” that result from “[f]ees, costs, fines, money bail, and other financial

assessments—levied by courts, jails, and prisons….” 12

        Undoubtedly, “[c]ounterproductive fines and fees policies and practices have devastated

the lives of millions of people in the U.S., trapping them in a cycle of poverty and punishment.” 13

These cycles of poverty and punishment are created by the type of fixed payments inherent in

Defendants’ and Paul Weiss’s application to the Court. “Fixed payments for a given offense



11
   Yale Law School’s Arthur Liman Center for Public Interest Law, Harvard Law School’s Criminal Justice Policy
Program, Fines & Fees Justice Center, UC Berkeley School of Law’s Policy Advocacy Clinic, “Fees, Fines, and the
Funding of Public Services A Curriculum for Reform” (2020),
https://law.yale.edu/sites/default/files/area/center/liman/document/fees_fines_and_the_funding_f_public_services.pd
f.
12
   Judith Resnik and David Marcus, “Inability to Pay: Court Debt” (2020),
https://law.yale.edu/sites/default/files/area/center/liman/document/inability_to_pay_court_debt_circa_2020.pdf.
13
   Fines & Fees Justice Center, https://finesandfeesjusticecenter.org/2020/11/17/new-ffjc-publication-policy-
guidance-on-ability-to-pay-assessments-payment-plans-and-community-service/


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create . . . penalties [that are] more punitive for poorer individuals than for wealthier individuals.

The disproportionate impact of these fixed payments on the poor raises concerns not only about

fairness, but also because high monetary sanctions can lead to high levels of debt” and other

consequences. 14

           If granted, Mr. Cardwell believes that Defendants and Paul Weiss’s fee request would

likely trap him in a cycle of financial instability and insecurity. See Cardwell Declaration. If

granted, Defendants’ and Paul Weiss’s request would lead to Mr. Cardwell and his counsel being

punished more harshly than wealthier individuals, and would saddle them with debt that would

likely take years—if not decades—to pay off. If granted, Defendants’ and Paul Weiss’s request

would impair Mr. Cardwell and his counsel’s ability to meet various employment, housing, and

family obligations for an indeterminate period of time (assuming they ever regain such an ability).

See Jeffries and Cardwell Declarations.

           Ultimately, however, if the Court elects to exercise—consistent with Your Honor’s ruling

in Shnyra v. State St. Bank & Tr. Co., No. 19-CV-2420, 2020 WL 6892078, at *10, 12 (S.D.N.Y.

Nov. 24, 2020) (Woods, J.) (cited in Defendants’ Request for Fees and Costs at 3 n.1)— its “wide

discretion to apportion Rule 37 monetary sanctions between a party and its counsel,” and holds

that both parties are “jointly and severally liable” for the attorneys’ fees awarded by the Court, id.,

Mr. Cardwell may have little choice but to attempt to publicly fundraise in order to satisfy such

obligation. See Cardwell Declaration. Simply stated, Mr. Cardwell is unable to afford any

reasonable amount of attorneys’ fees with respect to his own counsel, let alone the roughly

$100,000 that Defendants and Paul Weiss seek. See Cardwell Declaration (explaining same).




14
     Id.


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       Regarding the request before the Court, the Court should not grant any application that will

predictably and possibly permanently destabilize Mr. Cardwell and his counsel’s lives, financial

security, and roles within their respective families and communities.

               4.      Defendants’ Motion To Compel Did Not Seek Attorneys’ Fees Against
                       Plaintiff, And They Should Not Be Awarded Despite The Court’s Invitation

       It is beyond dispute that Defendants’ Motion to Compel did not seek a monetary sanction

against Plaintiff or Plaintiff’s counsel. ECF 102, 112. Despite this, the Court encouraged

Defendants and Paul Weiss to petition for attorneys’ fees after granting in large part their Motion

to Compel (which they did, and to which this Opposition responds).

       In light of such invitation, the court’s guidance in Gordon v. Kaleida Health, No. 08-CV-

00378SF is highly instructive. 2012 WL 2953116, at *10 (W.D.N.Y. July 19, 2012). There, the

Gordon court granted in part and denied in part a motion to compel. In so doing, the court noted

that “[a]lthough the court is required to award attorney’s fees upon granting a motion to compel,”

the defendants in that case “did not request an award of attorney’s fees,” and thus “the court, in its

discretion, d[id] not award them.” Id. Because Defendants’ Motion to Compel did not seek

attorneys’ fees from Plaintiff or Plaintiff’s counsel, and only made an application for fees upon the

Court’s insistence, the Court should follow in Gordon and exercise its discretion to forego fees

while forcing compliance with Your Honor’s January 13, 2021 order.

       B.      Plaintiff’s Objections and Responses, and Positions Taken With Respect to
               Defendants’ Discovery Demands Were “Substantially Justified”

       Courts have held that “‘[s]ubstantial justification’ exists where parties could differ as to

whether the party was required to comply with the disclosure request, or if there exists a genuine

dispute concerning compliance.” Scantibodies Lab., Inc. v. Church & Dwight Co., No. 14CV2275

(JGK) (DF), 2016 WL 11271874, at *18 (S.D.N.Y. Nov. 4, 2016), report and recommendation

adopted, No. 14-CV-2275 (JGK), 2017 WL 605303 (S.D.N.Y. Feb. 15, 2017) (citations omitted).


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       In Bowne of New York City, Inc. v. AmBase Corp., 161 F.R.D. 258 (S.D.N.Y. 1995), Judge

Carter addressed the meaning of “substantial justification” under Rule 37(a)(4). Despite

recognizing the general principle that the compelled party pays under Rule 37, he noted that “courts

may not award costs where the losing party’s opposition . . . was based on the existence of a

genuine dispute because ‘in such cases, the losing party is substantially justified in carrying the

matter to the court.”’ 161 F.R.D. at 265 (quoting Rule 37(a)(4) Advisory Comm. Notes to 1970

Amendment). Thus, “when a dispute involved different interpretations of the governing law,

opposition is substantially justified unless it involves an unreasonable, frivolous, or completely

unsupportable reading of the law.” Id. (collecting cases) (emphasis added). Indeed, the

determination of whether there is substantial justification for Plaintiff’s conduct is decided

objectively, with leniency recognized “given the fact that attorneys must advocate for their

clients.” Id. at 262, 265. That is precisely what Plaintiff’s counsel has done here.

       Plaintiff’s arguments and objections, attached as exhibits to Plaintiff’s Opposition to

Defendants’ Motion to Compel (ECF 110), set out in detail arguments in response to Defendants’

Motion to Compel, and specifically, Plaintiff’s basis for objecting to various aspects of their

underlying motion. Those papers demonstrate the good-faith basis for Plaintiff’s assertions of the

objections that were maintained, the responses that were provided, and the burden associated with

requesting an indigent Plaintiff to reproduce his entire document production (without undertaking

significant cost despite repeatedly recognized financial hardships)—all of which demonstrate that

Plaintiff’s objections and litigation positions were “substantially justified.” Fed. R. Civ. P. 37.

       Even yet, perhaps the most significant factor demonstrating the good-faith basis for

Plaintiff’s objections is the fact that Defendants served virtually identical objections that the Court

has now characterized as “boilerplate,” “intentionally evasive,” and “unintentionally surpassingly




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imprecise.” Hrg. Tr. at 23:2-3; id. at 22:16. See Selected Excerpts, Rog Nos. 4, 10, 11, 19, 20, 21,

among others, of Davis Polk’s Responses and Objections to Plaintiff’s First Set of Interrogatories

(attached as Exhibit A); Selected Excerpts, RFP Nos. 55, 191-194 of Defendants’ Responses and

Objections to Plaintiff’s First Set of RFPs (attached as Exhibit B). Many of these responses are

clear on their face that Plaintiff’s counsel made responses and objections similar to those asserted

by half a dozen Paul Weiss attorneys, a fact that does not support a conclusion that Plaintiff’s

counsel intentionally ignored the plain reading of straightforward civil procedure rules.

          Although Plaintiff’s good faith and diligent conduct does not require “leniency,” the

substantial justification “standard is a lenient one,” Turner v. Vt. Ctr. for the Deaf & Hard of Hr’g,

Inc., 2003 WL 27380992, at *5 (D. Vt. Oct. 1, 2003), requiring only that a position be “justified

to a degree that could satisfy a reasonable person,” Pierce v. Underwood, 487 U.S. 552, 565

(1988). 15 Because Paul Weiss and Defendants were “satisf[ied]” with their substantially similar

objections, and discovery responses—some of which they have now agreed to revise in light of

the Court’s instructions to the parties—Plaintiff was reasonably justified in asserting the

challenged objections. Again, Defendants’ similarly worded discovery responses reveal that they,

too, considered such positions defensible (even if the Court ultimately disagrees, including for the

reasons Your Honor stated on the record during the January 2021 hearing).




15
  Thus, “a party’s refusal to produce documents on the basis that they are irrelevant can provide substantial
justification,” even if the Court is ultimately unpersuaded by the basis for refusing disclosure. Klein v. Torrey Point
Group, LLC, 979 F. Supp. 2d 417, 442 (S.D.N.Y. 2013).


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II.    THE COURT SHOULD MAKE A 90% ACROSS-THE-BOARD CUT TO THEIR
       REQUEST AS A PRACTICAL MEANS OF TRIMMING FAT FROM THEIR FEE
       APPLICATION

       Defendants and Paul Weiss seek to be reimbursed at a staggering rate of $1,485/hour for

two partners, $958.50 for a senior associate’s time, $598.50/hour for a junior associate’s time, and

$326.70/hour for a paralegal’s time. For the Court’s convenience, these amounts are as follows:

 Timekeeper                Hours              Cost                    “Discounted” Hourly Rate
 Partner                   3.9                $5,791.50               $1,485
 Partner                   14.4               $21,384.00              $1,485
 Senior Associate          30.6               $29,330.10              $958.50
 Junior Associate          71.4               $42,732.90              $598.50
 Paralegal                 1.1                $326.70                 $297
 Total                     121.4              $99,565.20              $964.80/Hour Average


       This Court has repeatedly held that fee applications in connection with Rule 37(b) motions

to compel were excessive. For instance, the court in In re Agent Orange Product Liab. Litig.

acknowledged that “the district court has the authority to make across-the-board percentage cuts

in hours as a practical means of trimming fat from a fee application.” 818 F.2d 226, 237; accord

United States Football League v. National Football League, 887 F.2d 408, 415 (2d Cir. 1989);

Days Inn Worldwide, Inc. v. Amar Hotels, Inc., 05 Civ. 10100(KMW)(KNF), 2008 WL 2485407

at *10 (S.D.N.Y. June 18, 2008) (reducing fees by 75% from $20,057.54 to $5,014.38, including

because the case involved a settled area of law); LaBarbera v. J.E.T. Res., Inc., 396 F.Supp.2d

346, 352 (E.D.N.Y.2005) (hours reduced by fifty percent).

       Such is appropriate especially where “the facts relevant to the motion did not require any

significant investigation . . . and the application of facts to law was straightforward.” Antonmarchi

v. Consol. Edison Co. of New York, Inc., 03 CIV. 7735 LTS KNF, 2012 WL 3126004 (S.D.N.Y.

July 31, 2012) (excluding as excessive 80% of the hours requested because despite filing a “limited

and straightforward motion, three attorneys with considerable experience and expertise” billed an


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excessive number of hours); Bravia Capital Partners, Inc. v. Fike, 09 CIV. 6375 JFK KNF, 2013

WL 1728059 (S.D.N.Y. Apr. 22, 2013) (reducing by 40% the “fat” from a fee application); Romeo

& Juliette Laser Hair Removal, Inc. v. Assara I, LLC, 08 CIV. 442 TPG FM, 2013 WL 3322249

(S.D.N.Y. July 2, 2013) (applying a 75% reduction in fees).

       Here, it would be unjust for Plaintiff to be forced to carry the financial burden of Paul

Weiss’s decision to expend 120 hours across four attorneys in aggressive pursuit of a

“fundamental” litigation dispute. Cf. Altergott v. Modern Collection Techniques, 864 F. Supp.

778, 783 (N.D. Ill. 1994) (reducing lodestar by 50% where counsel failed to reasonably assess

relatively minor case by pursuing it in an aggressive manner); see also Hrg. Tr. at 42:19-21 (noting

the parties’ dispute could have been “resolved by reference to the rules themselves and the advisory

committee notes”).     For these reasons, an across-the-board deduction of 90% in fees (or

$89,652.16) is appropriate here, reducing the total amount of reimbursable fees to $9,913.04.

III.   IN THE ALTERNATIVE, PAUL WEISS’S “DISCOUNTED” HOURLY RATE IS
       UNREASONABLY HIGH AND THEIR FOUR ATTORNEYS BILLED MORE
       HOURS THAN NECESSARY TO ACHIEVE THE OUTCOME THEY ENJOY

       A.      Paul Weiss’s “Discounted” Hourly Rate Is Unreasonably High And Should
               Be Reduced To Reflect A Reasonable Rate Of $250-$400 Per Hour

       If the Court is unwilling to impose an across-the-board percentage-based reduction to

Defendants’ and Paul Weiss’s fee request, there are additional bases to deny their request. Paul

Weiss’s rates are excessive because they are not commensurate with the prevailing rates in this

District for employment litigation matters of this size. It is obvious that the rate or amount that an

attorney bills his or her client related to discovery or a motion to compel does not make that rate

(or the time expended) reasonable under Rule 37 as reasonable motion expenses. See Kahn v.

GMC, No. 88 Civ. 2982, 1993 U.S. Dist. LEXIS 5196, at *4 (S.D.N.Y. Apr. 19, 1993); Nowlin v.




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Lusk, No. 11CV712S, 2014 U.S. Dist. LEXIS 147450, at *7 (W.D.N.Y. Oct. 16, 2014); Sheehy,

2007 U.S. Dist. LEXIS 11722, at *17.

        Rather, a reasonable hourly rate is “‘what a reasonable, paying client would be willing to

pay,’ given that such a party wishes ‘to spend the minimum necessary to litigate the case

effectively.’” Simmons, 575 F.3d at 174 (quoting Arbor Hill Concerned Citizens Neighborhood

Ass’n v. Cnty. of Albany, 493 F.3d 110, 112, 118 (2d Cir. 2007), amended on other grounds, 522

F.3d 182 (2d Cir. 2008)) (emphases added). At the time of Mr. Cardwell’s termination, the

Individual Defendants were part of a partnership that made, on average, $4-5 million annually.

What Davis Polk and the Individual Defendants can afford to pay Paul Weiss—a major law firm—

is not what a “reasonable, paying client would be willing to pay,” if such client desired to pay “the

minimum necessary” to effectively obtain the outcome that Defendants and Paul Weiss now enjoy.

Hourly rates ranging between $598.50 (on the low end) and $1,485 (on the high end) are orders of

magnitude higher than the “minimum” a “reasonable” client would pay under such circumstances.

        For instance, Susanna Buergel “serves as co-chair of the Securities Litigation and

Enforcement Group,” 16 and Bruce Birenboim is “a senior trial lawyer with a broad focus on

securities and M&A litigation, commercial litigation, and internal investigation and regulatory

work.” 17    According to their public profiles, these senior lawyers typically represent large

institutions and corporate behemoths like Davis Polk; however, what well-resourced clients are

able (and willing) to pay for the rendition of their services (in non-employment law contexts) bears




16
   Paul Weiss | Professionals > Susanna M. Buergel, https://www.paulweiss.com/professionals/partners-and-
counsel/susanna-m-buergel.
17
   Paul Weiss | Professionals > Bruce Birenboim, https://www.paulweiss.com/professionals/partners-and-
counsel/bruce-birenboim.


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no rational relationship to what a “reasonable, paying client” would pay if “spend[ing] the

minimum necessary to litigate” this employment discrimination and retaliation action. 18

         Further to this point, “[c]ourts in this district have determined in recent cases that the range

of appropriate fees for experienced civil rights and employment law litigators is between $250 and

$450” per hour. Gurung v. Malhotra, 851 F. Supp. 2d 583, 597 (S.D.N.Y. 2012) (citations

omitted); accord Aguilera v. Cookie Panache ex rel. Between the Bread, Ltd., 2014 U.S. Dist.

LEXIS 69716, at *9 (S.D.N.Y. May 20, 2014) (awarding fees at the rate of $300 for a partner and

$200 for counsel in Fair Labor Standards Act action, based on “the prevailing rates in this district

for employment law cases”); Yuquilema v. Manhattan’s Hero Corp., 2014 U.S. Dist. LEXIS

120422, at *39-40 (S.D.N.Y. Aug. 26, 2014) (reducing rate of attorney with more than thirty years

of experience who specializes in employment matters to $425/hour, and reducing rate of associate

with approximately ten years of experience to $300/hour). 19

         Accordingly, Plaintiff submits that if Paul Weiss’s fee application is not reduced through

an appropriate across-the-board percentage cut, their rates should be reduced as follows:

 Timekeeper                     Hours                 Cost                           Employment Law
                                                                                  “Prevailing” Hourly Rate
 Partner                        3.9                   $1,755.00                  $450
 Partner                        14.4                  $6,480.00                  $450
 Senior Associate               30.6                  $9,180.00                  $300

18
   Senior associate Marissa C.M. Doran does not have a public profile that allows one to specifically describe her
core practice or client base. However, it is most likely the case that like other senior associates at Paul Weiss, Ms.
Doran’s primary clients are large institutions, corporations, and wealthy individuals.
19
   For senior associates, reasonable rates typically range from $200-$300 an hour, and for junior associates, the
typical rates are from $100-$200 an hour. See, e.g., Lopa v. Fireman’s Fund Ins. Co., 2014 U.S. Dist. LEXIS 68794,
at * 10 (E.D.N.Y. Apr. 30, 2014) (awarding $255/hour for associate with 8-9 years of experience in the relevant
field); Lema v. Mugs Ale House Bar, 2014 U.S. Dist. LEXIS 41286, at * 20 (E.D.N.Y. Feb. 28, 2014) (awarding
$225/hour for associate admitted to practice six years); Ferrara v. Pomarc Indus., 2013 U.S. Dist. LEXIS 109730, at
*16-18 (E.D.N.Y. Mar. 22, 2013) (awarding $260/hour for associate with nine years of experience); Brown v. Green
317 Madison LLC, 2014 U.S. Dist. LEXIS 40248, at * 32 (E.D.N.Y. Feb. 4, 2014) (in a civil rights matter, awarding
$275/hour, “the equivalent of a senior associate’s rate,” to experienced associate who had handled approximately 45
cases in federal court); but see Gesualdi v. Ava Shypula Testing & Inspection, Inc., 2014 U.S. Dist. LEXIS 50752, at
* 17 (E.D.N.Y. Feb. 28, 2014) (awarding $375/hour for senior associate, noting this was “higher than the normal
rate” because “in this particular case, the senior associate was the primary lead attorney and had approximately ten
years of relevant legal experience”).


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 Timekeeper                Hours              Cost                       Employment Law
                                                                      “Prevailing” Hourly Rate
 Junior Associate          71.4               $14,280.00             $200
 Paralegal                 1.1                $110.00                $100
 Total                     121.4              $31,805.00             $261.99/Hour Average


Because it is within a district court’s discretion to determine reasonableness based on the court’s

knowledge of prevailing community rates, Plaintiff requests that, at a minimum, the Court reduce

Paul Weiss’s hourly rates to fit within a range that is deemed reasonable for employment law

matters in this District, specifically in the range of $250-$400/hour. See Creative Res. Group of

N.J., Inc. v. Creative Res. Group, Inc., 212 F.R.D. 94, 103-04 (E.D.N.Y. 2002).

       B.      Defendants and Paul Weiss Failed to Provide Sufficient Detail to Justify
               Reimbursement For 120-Plus Hours, Billed By Four Attorneys

       In addition to charging rates that are typically paid by moneyed individuals or wealthy

corporate clients, Defendants’ and Paul Weiss’s fee application reflects more hours billed by more

attorneys than necessary to secure their motion to compel victory. Courts in this district “look to

the amount of time spent as reflected in contemporaneous time records, and then decides how

much of that time was ‘reasonably expended.’ If the district court finds that some of the time was

not reasonably necessary to the outcome of the litigation, it should reduce the time for which

compensation is awarded accordingly.” Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83,

111 (2d Cir. 2012) (citation omitted)). However, there are two issues preventing Plaintiff (and the

Court) from undertaking such analysis in connection with the instant application.

       First, at the threshold, the application fails to provide the level of detail required for

Plaintiff (or this Court) to meaningfully scrutinize the fee request. In the Second Circuit, motions

for attorneys’ fees must be based on contemporaneous time records specifying relevant dates, time

spent and work performed. See New York State Ass’n for Retarded Children, Inc. v. Carey, 711




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F.2d 1136, 1148 (2d Cir. 1983); Cruz v. Local Union No. 3, 34 F.3d 1148, 1160 (2d Cir. 1994);

Lewis v. Coughlin, 801 F.2d 570, 577 (2d Cir. 1986).

        Courts are clear that “[a]ttorney affidavits which set forth all charges with the required

specificity but which are reconstructions of the contemporaneous records satisfy the rationale

underlying Carey.” David v. Sullivan, 777 F. Supp. 212, 223 (E.D.N.Y.1991) (emphases added).

Here, the Declaration of Susanna Buergel hardly satisfies this standard, as it does not permit

Plaintiff to, among other things, peel back the layers of the request to ascertain, among other things,

(i) whether the time spent on the particular tasks underlying their application was reasonable, and

(ii) whether the tasks were reasonably apportioned between the various members of their litigation

team (given the wide range in hourly rates between the senior and junior-most members of their

team), or reflects duplication in efforts, among other fundamental considerations. Paul Weiss’s

failure to include such information in their opening brief effectively prevents Plaintiff from

scrutinizing those particulars before the Court rules on their request. Their invitation to provide

such information “upon request” by the Court effectively ignores Second Circuit jurisprudence

requiring that these details be provided as a precondition to seeking fees. 20

        Second, the disputes underlying Defendants’ Motion to Compel did not require the

devotion of 120-plus hours of attorney time. Such is true where Paul Weiss failed to meaningfully

engage in virtually all of the cases that Plaintiff cited in support of its position (which, far from

filibustering, were advanced consistent with Plaintiff’s good faith understanding of the law and

interpretation of cases and rulings issued by judges in this Circuit). Quaratino v. Tiffany & Co.,

166 F.3d 422, 425 (2d Cir. 1999) (noting the court should “exclude excessive redundant or



20
  A court’s task is to make “a conscientious and detailed inquiry into the validity of the representations that a
certain number of hours were usefully and reasonably expended.” Lunday v. City of Albany, 42 F.3d 131, 134 (2d
Cir. 1994). Based on the current record, this Court cannot make such a “detailed inquiry.”


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otherwise unnecessary hours” before awarding fees). Instead, it was Plaintiff’s counsel and

Plaintiff that exerted a considerable effort, with extremely limited resources, in defending their

positions—for which they relied on the cited cases and opinions to argue that Defendants were

attempting to impose discovery obligations on Plaintiff that judges in this Circuit expressly deemed

improper, and even denied motions to compel (or granted protective orders) on that very basis.

       Relatedly, the hours devoted to briefing this motion are disproportionate when considering

that Defendants’ opening brief in support of their Motion to Compel (ECF 102) consisted of 13

pages of argument and their reply brief (ECF 112) comprised 9 more pages. See Gradisher v.

Check Enforcement Unit, No. 1:00-DV-401, 2003 WL 187416, at *5 (W.D. Mich. 2003)

(comparing hours billed to length of motions and number of cases cited to reduce number of hours

spent on them). Accepting the Court’s position that Plaintiff’s violations were indeed “fairly

fundamental” should lead the Court to conclude that 120 hours exerted by four legally-trained Paul

Weiss attorneys were not needed to remedy violations that required little engagement with

caselaw. See DiFilippo v. Morizio, 759 F.2d 231, 235-36 (2d Cir. 1985) (noting a district court

can consider such factors when assessing the extent of work needed for the type of case at issue);

compare ECF 102, Opening Br. (citing one case) with ECF 112, Reply Br. (citing seven cases).

       Consistent with the principles underlying these authorities, the court in Underdog

Trucking, L.L.C. v. Verizon Servs. Corp. found that for a similar Rule 37(b) motion to compel, a

14-page brief, six-page declaration, and 16 exhibits, which included Defendants’ document

requests, correspondence between the parties, and transmission e-mails for Plaintiffs’ document

productions need not have taken 33 hours to prepare and file. 276 F.R.D. 105, 111 (S.D.N.Y.

2011). In reaching this conclusion, the Court noted that the motion asserted “straightforward legal

arguments” and did “not require complex legal analysis.” Id. Here, although Defendants and Paul




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Weiss do not submit contemporaneous time records, or a precise accounting of the 121.4 hours for

which they seek reimbursement, their work product is not comparable to that filed in Underdog

Trucking—yet they seek to be reimbursed for nearly four times the number of hours deemed

reasonable there. Defendants’ request should be reduced to account for this fundamental reality.

                                           CONCLUSION

          If the Court remains inclined to sanction Plaintiff and Plaintiff’s counsel with the monetary

penalty of attorneys’ fees, the Court should (in the interests of justice) reduce Defendants’ and

Paul Weiss’s request by ninety percent, bringing the penalty imposed (if any) to no more than

$9,913.04. Plaintiff respectfully requests all such additional relief as this Court deems just and

proper.




DATED:           January 27, 2021                       Respectfully submitted,

                                                        /s/ David Jeffries

                                                        David Jeffries

                                                        Attorney for Plaintiff




cc (via ECF):

Jeh C. Johnson
Bruce Birenboim
Susanna M. Buergel
Marissa C.M. Doran

Attorneys for Defendants




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